 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 1 of 14




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 IN RE: JERRY EDWARDS
    DEBTOR                                               CASE NO: 22-30950

                                                              CHAPTER 13
 JERRY EDWARDS
   PLAINTIFF                                         ADVERSARY PROCEEDING NO:
   V.
                                                           NO. _________
 NEWREZ LLC DBA SHELLPOINT
 MORTGAGE SERVICING
   DEFENDANT



                                       COMPLAINT


1. Plaintiff Jerry Edwards files this complaint seeking damages arising
   from Defendant, the mortgage servicer Newrez LLC dba Shellpoint
   Mortgage Servicing, for a willful violation of the plan and order
   confirming the plan under 11 U.S.C. 1327 and conversion.

2. On July 8, 2024, Hurricane Beryl blasted through the Houston area. A
   massive tree in the yard of Plaintiff Jerry Edwards fell onto his home.
   While his home insurance acted promptly to get funds to Mr. Edwards
   so that he could remove the tree and repair the damage to his roof,
   Defendant Newrez LLC dba Shellpoint Mortgage Servicing (hereinafter
   “Shellpoint”) has refused to release the funds.

3. Mr. Edwards signed both checks from the insurance and mailed them
   to Shellpoint. However, Shellpoint has refused to provide these funds




               JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                          1 OF 14
 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 2 of 14




   to Mr. Edwards for his repairs. Mr. Edwards has tried valiantly to
   prevent further damage with the use of tarps but plastic is no
   substitute for a roof repair, and his home is open to moisture, insects,
   rodents and fungal spores.

4. Shellpoint has provided numerous reasons for their failure to turn over
   the insurance funds so that repairs can be done. Their final one was
   that because Mr. Edwards was late on the mortgage, an inspection was
   necessary. Mr. Edwards is not late, but even if he was, Shellpoint has
   done an inspection months ago.

                               A.       INTRODUCTION

2. This is an action for actual and punitive damages, including attorney’s
   fees, filed by the plaintiff for the failure of the defendant to comply
   with 11 U.S.C. §362 and 11 U.S.C. §1327.

3. In addition, or in the alternative, this action is filed for actual damages,
   filed by the plaintiff for the defendant’s conversion of insurance funds
   earmarked for home repair.

4. This action is also filed to prevent the frustration of the underlying
   purposes of the United States Bankruptcy Code. To date, debtor’s
   counsel has been unable, despite repeated communication attempts
   through Defendant’s counsel, to have the home insurance funds
   released to Debtor so that he can repair the home he is paying off in
   the bankruptcy.

                           B. JURISDICTION AND STANDING

5. This adversary proceeding relates to the Chapter 13 case of Plaintiff, In
   re Jerry Edwards, Case Number 22-30950, filed in the United States



              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                         2 OF 14
 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 3 of 14




   Bankruptcy Court for the Southern District of Texas, Houston Division.

6. This Court has jurisdiction of this adversary proceeding pursuant to 28
   U.S.C. §1334 and § 157(b) and (c).

7. To the extent the Court may find this to be a non-core proceeding, the
   plaintiff consents to the entry of a final order in this matter by the
   Bankruptcy Court, in accordance with 28 U.S.C. § 157(c)(2).

8. This Court has supplemental jurisdiction to hear all state law claims
   pursuant to 28 U.S.C. § 1367.

9. Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a
   substantial portion of the events giving rise to Plaintiff’s claim occurred
   in this district. Defendants regularly transact business in this district.

10. Plaintiff has standing to bring this action as he has been and continues
    to be damaged economically and suffered damages to his home
    because of the defendants’ willful violation of the automatic stay and
    conversion.

                                      C. PARTIES

11. Plaintiff is the debtor in the above-captioned bankruptcy case, filed
    under Chapter 13 of the United States Bankruptcy Code.

12. Defendant NewRez LLC dba Shellpoint Mortgage Servicing
    (“Shellpoint”) is a mortgage company with its principal office in
    Pennsylvania. Shellpoint can be served through service on its
    registered agent Corporation Service Company d/b/a CSC-Lawyers
    Incorporation Service Company; 211 E. 7th Street, Suite 620; Austin,
    Texas 78701.

                                 D. RELEVANT FACTS



              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                         3 OF 14
 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 4 of 14




13. Jerry Edwards purchased his partially constructed home on April 16,
    2002 for $43,290.00. It was Jim Walter “shell home”, and Mr. Edwards
    was responsible for much of the interior construction himself.

14. Mr. Edwards had land to put the home on at what is now 309 W.
    Humble Street, Baytown, Texas.

15. Mr. Edwards initially financed his home with the seller, Jim Walter
    Homes. He put $5,190 down on the cash price of $43,290 and financed
    the remaining $38,100 at an APR of 11.50%. His payments without
    insurance were $387.20.

16. Like most contracts, there was no fee for paying the loan off early. The
    fee for late payments was $5.00.

17. Rather uniquely, Jim Walter Homes, Inc had a contractual mechanic’s
    lien on the partially constructed home it provided Mr. Edwards, on Mr.
    Edwards’ land, and on the improvements provided after the sale by Mr.
    Edwards. This was a purchase money security interest although the
    amount was not for the cash price. Instead, the lien was for the
    amount of the 300 payments at 11.50% interest -- $116,160.00.

18. Upon completion of the shell home, Jim Walter Homes assigned Mr.
    Edwards’ loan to Mid-State Homes, Inc.

19. Mid State Trust XI is still the owner of the loan.

20. U.S.Bank, N.A. is the trustee for Mid State Trust XI.

21. Mr. Edwards had made his home payments for almost twenty years
    without incident. He was occasionally late but would catch up and pay
    the $5 late payments at that time as well.




              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                         4 OF 14
 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 5 of 14




22. For years he kept up the insurance and property taxes as well, but at
   some point the property taxes were not paid. He applied for and in
   October 2021 received a Disability Homestead Exemption and a tax
   deferral exemption.

23. NewRez dba Shellpoint Mortgage Servicing became the servicer in or
    around March 6, 2020.

24. For reasons that are unclear, Shellpoint began charging late fees of
    $19.36 monthly instead of the contractual rate of $5.00.

25. In November of 2020, Shellpoint paid $33,127.95 of taxes out of
    escrow to Goose Creek CISD and Harris County, making Mr. Edwards
    escrow $38,171.38 in the negative. Mr. Edwards did not give
    Shellpoint permission to advance these funds.

26. On or around February 2021, Shellpoint then raised the monthly
    payment amount to $1,087.96.

27. Mr. Edwards was living on social security with occasional odd jobs – he
    had no way to pay this high of a payment. He had budgeted only for
    the $387 payment he had been making for 19 years.

28. Shellpoint referred the property to an attorney to begin foreclosure
    proceedings on or around July 12, 2021.

29. To prevent the loss of his home of 20 years, the home he had over half
    built with his own labor, Mr. Edwards filed Chapter 13 bankruptcy on
    April 8, 2022.

30. The original loan of $38,100.00 had been paid down, after 20 years, to
    $21,707.58. However, after an adjustment was made by Shellpoint
    where they added the escrow negative balance to the principal, and
    then added the foreclosure expenses in, the new “principal” became



              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                         5 OF 14
 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 6 of 14




   $65,588.76.

31. Shellpoint’s claim in Mr. Edwards’ bankruptcy was for $65,056.52.

32. To avoid losing his home, and in accordance with Local Rule 3015-1(b),
    Mr. Edwards bankruptcy plan had him pay his mortgage through the
    plan, at 5.25% interest, in payments made by the trustee in the amount
    of $1,235.15 per month.

33. For the past three years, Mr. Edwards has not been late with his
    bankruptcy plan payments. This is despite his social security payments
    being barely higher than his plan payment.

34. As required by Local Rule 3021-1(a), the trustee has made all payments
    in accordance with the confirmed plan in Mr. Edwards’ case.

35. Mr. Edwards pays for his home insurance outside of escrow and has
    kept up on his escrow payments.

36. On July 8, 2024, Hurricane Beryl blasted through the Houston area. A
    massive tree in the yard of Plaintiff Jerry Edwards fell onto his home.

37. Mr. Edwards contacted his insurance company, Texas Fair Plan
    Association, and they promptly sent out an adjuster.

38. The tree limbs were so large and thick that the adjuster could not get
    close enough to evaluate the damage to the roof. Instead, he
    approved an initial payment of $6594.03 to Mr. Edwards for the
    purpose of having the tree cut up and hauled away, following which he
    would return and provide an estimate on repairs.

39. On July 20, 2024, Mr. Edwards received the first check, signed it, and
   sent it to Shellpoint as they were also on the check.

40. On July 30, 2024, Shellpoint sent an instructional letter to Mr. Edwards.


              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                         6 OF 14
 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 7 of 14




   The letter clearly stated that if an insurance payout for damages was
   under $40,000, then they would not hold any of it back. Rather, they
   would sign the check immediately and provide the funds to the
   homeowner.

41. However, Mr. Edwards did not get the funds from Shellpoint. He
    contacted them and was told multiple excuses for this, including

   a) It was because he was late;

   b) It was because he was late on payments and so needed an
      inspection;

   c) It was because they did not want him to do repairs on his own;

   d) It was because they did not want him to do repairs on his own and
      thus needed estimates from contractors;

   e) And various combinations of the above.

42. Meanwhile, Mr. Edwards did not have the funds to remove the tree
    from his roof!

43. On August 23, 2024, Mr. Edwards faxed the adjusters report to
    Shellpoint so they would have the list of necessary repairs.

44. On August 27, 2024, Mr. Edwards sent a copy of his receipt from Lowes
    and an explanation of how he needed the money for removal of the
    tree. Shellpoint’s attorney had told Mr. Edwards’ attorney’s office that
    they did not want him to do work on his own. Mr. Edwards asked for
    the money to be released to him so he could hire professionals.

45. Finally, on September 5, 2024, Shellpoint determined that they would
    release a portion of the insurance money. They gave Mr. Edwards
    $2,555.36 of the $6,594.00 insurance funds.


              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                         7 OF 14
 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 8 of 14




46. The released amount of funds was not enough to hire professionals,
    but he was able to pay a few people to help him with removing the
    branches and other tree parts on or blocking the roof.

47. Mr. Edwards’ insurance adjuster came back out even though the tree
    was not fully removed. He reviewed what he could, considering that
    sometimes damage is not visible from the outside, and sent Mr.
    Edwards a second check for $9,440.88 to repair the damages the
    adjuster could see.

48. At first, Mr. Edwards did not want to send the signed check to
    Shellpoint, but he needed their signature on it and they insisted that he
    sign first. He sent the check initially on October 29, 2024, and it was
    returned for his signature, so he signed the check and sent it back to
    Shellpoint in December.

49. With his check in December, Mr. Edwards also sent a copy of the
    October 21, 2024 letter from Shellpoint that explained what he needed
    and checked off what he was sending (and had previously sent) and a
    contract with Rios Construction & Roofing, Inc for the work to be done
    with a price estimate of $11,411.00,

50. Shellpoint did not turn over any funds.

51. Shellpoint said they had to do an inspection because Mr. Edwards was
    late on payments. Mr. Edwards and his attorney had already tried to
    explain to Shellpoint and their counsel that this was not true. Mr.
    Edwards had made all plan payments on time and that was all that was
    owed, the plan payments included all the previously late amounts
    bundled in.

52. Despite not being late, Mr. Edwards requested that Shellpoint do the
    inspection. He needed to request more than once and his attorney



              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                         8 OF 14
 Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 9 of 14




   also informed Shellpoint’s counsel that Mr. Edwards agreed with
   having an inspection, please schedule one!

53. Finally, and with no communication ahead of time, on January 24,
    2025, an inspector from Pat Neff & Associates appeared and did an
    inspection.

54. At the same time, to deal with the “Mr. Edwards is late” issue, his
    lawyer sent a Request for Information and Notice of Error letter to
    Shellpoint and it was received on January 29, 2025.

55. Shellpoint failed to acknowledge the receipt of the letter as required
    under CFR 1024.36(c).

56. Storms came in February, and very cold weather, but still no insurance
    check arrived from Shellpoint. The home was cold and with all the rain,
    Mr. Edwards knew his home was getting more damaged despite the
    tarps he kept up.

57. Shellpoint did respond to the Notice of error letter on February 26,
    2025.

58. Shellpoint’s response stated that as of February 26, 2025, Mr. Edwards
    was past due for “September 5, 2024 through February 5, 2025,
    installments totaling $7,464.30, late charges of $55.00, legal fees of
    $1,207.63, other fees of $3,771.58, plus an escrow required amount of
    $105.55 minus an unapplied balance of $997.89, for a total amount
    due of $11,706.22.”

59. The loan history statement provided with Shellpoint’s response did
    show the two insurance checks -- $6,594.03 was deposited on
    8/29/2024 as “Loss Draft Payment” and $9,440.88 was deposited on
    1/24/2025 again as “Loss Draft Payment”.




              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                         9 OF 14
Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 10 of 14




60. There was only the one “Loss Draft Disbursement” of $2,555.36 sent to
    Mr. Edwards on September 6, 2024.

61. The loan history also showed a 1/24/25 transaction of $-60.00 to
    Cyprexx Services for the property inspection.

62. Despite their receipt of the two insurance checks, the inspection, and
    Mr. Edwards three years of on-time payments with his bankruptcy,
    Shellpoint has yet to release the insurance funds so that his home can
    be repaired.

63. Meanwhile, Mr. Edwards cannot repair the roof. He has concerns as
    the insurance company gave him 455 days to complete all necessary
    repairs, including any found only after the first repairs were begun, and
    those days are ticking down while at the same time, the cost of
    materials is skyrocketing.

64. Because of Shellpoint’s obstinate and reckless refusal to release the
    insurance funds needed to repair his home, Mr. Edwards was forced to
    retain his bankruptcy lawyers for this adversary proceeding so that he
    could get his funds and keep his home from falling further into
    disrepair.

CLAIM #1 – VIOLATION OF 11 U.S.C. 1327 AND THE COURT ORDERS CONFIRMING THE
                              CHAPTER 13 PLAN

65. Plaintiff incorporates the preceding paragraphs.

66. While Jerry Edwards’ mortgage is not owned or serviced by Fannie
    Mae, Fannie Mae guidelines are followed by other loan servicers as
    well. The Fannie Mae guidelines for Insured Loss Events include a
    section on servicer responsibilities, which includes that servicer must
    ensure the proof of loss claim is filed with the insurer, that it is paid out
    in accordance with the terms of the policy, and they must also monitor


              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                        10 OF 14
Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 11 of 14




   the disbursement of insurance loss proceeds.

67. The July 30, 2024 Shellpoint instructional guidelines laid out their
    format for dealing with the insurance and repairs and it followed Fanie
    Mae guidelines for damages such as happened to Jerry Edwards’ home
    – damages that could and should be repaired.

68. The Fannie Mae guidelines list as responsibilities of the insured that
    the servicer disburses the insurance funds while still making sure that
    repairs go forward. For mortgages that are current, any amount under
    $40,000 must be released immediately, and any funds above that are
    to be released based on periodic inspections of the progress of the
    repair work.

69. The insurance checks to Mr. Edwards were under $40,000.00 and
   should have been released immediately as he was not late with the
   mortgage.

70. Mr. Edwards’ confirmed plan in the Chapter 13 bankruptcy laid out
   the amounts to be paid over the coming five years and the due date.
   Mr. Edwards has been timely and paid each payment in full for three
   years.

71. Shellpoint’s accounting is erroneous as it fails to account for the fact
    that the plan governs the payments while Mr. Edwards is in
    bankruptcy. “A confirmed plan constitutes a new arrangement
    between the debtor and creditors and a claim may arise from the
    confirmed plan.” Blanco v. Bayview Loan Servicing LLC (In re Blanco),
    633 B.R. 714 (Bankr. S.D. Tex. 2021).

72. By claiming that Mr. Edwards is late on his payments and that is why it
    is permissible for them to fail to turn over the insurance proceeds,
    Shellpoint is in violation of 11 U.S.C. 1327, the confirmed bankruptcy



              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                        11 OF 14
Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 12 of 14




   plan and the court orders confirming the plan. “Section 1327 binds the
   debtor and each creditor to the provisions of a confirmed plan.” Id.

73. Shellpoint’s failure to correctly apply Mr. Edwards timely payments,
    leading to their decision that he is over 30 days late and should not get
    his insurance proceeds immediately, is the direct cause of damages to
    Mr. Edwards including the likelihood of higher damage to his home,
    the mental anguish and physical distress of living in a home that lets in
    cold and damp through the entire winter, emotional distress caused by
    the inability to repair the home he had worked on for years despite
    paying almost all his funds to his bankruptcy plan, reputational
    damages for his home being in obvious disrepair for so long while other
    homes in the neighborhood get fixed, and attorneys’ fees and costs.

74. Plaintiff seeks that this court order that Shellpoint make him whole and
    award these damages under 11 U.S.C. § 105.

                              CLAIM #2 – CONVERSION

75. Plaintiff Jerry Edwards sent the insurance checks to Shellpoint not as
    payment, but because they had instructed him that they would then
    sign the checks and then provide him with the funds for the repairs.
    That was the purpose of the home insurance for which Mr. Edwards
    paid – to repair the home in case of damages. However, Shellpoint
    refused to allow the funds to be used for the necessary home repairs.

76. Shellpoint made various excuses for not turning over the funds so that
    Mr. Edwards could repair his home – he was late on payments and so
    needed an inspection, he needed to provide the contractor’s estimate,
    he needed to allow an inspection. However, no matter how many
    times Mr. Edwards followed their instructions, Shellpoint kept the
    funds.




              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                        12 OF 14
Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 13 of 14




77. Even after the inspection, which took place in January, Shellpoint did
    not turn over the insurance proceeds.

78. Mr. Edwards repeatedly requested the insurance funds so that he
   could repair his home. Each time he requested, he was either ignored
   or provided with another thing he needed to do before the funds could
   be released. However, even after following every instruction,
   Shellpoint kept the insurance funds.

79. Shellpoint has not responded to Mr. Edwards’ emails where he asks
    why they are not providing his funds. They no longer have any reasons
    – because there are no reasons – and yet they hold the funds.

80. The funds being held are not inspecific – they are the insurance funds
   which under servicer guidelines are to be held in a separate, interest-
   bearing account until provided to the homeowner for repair of the
   damages covered by the insurance policy.

81. Because they exercised wrongful dominion and control over the
    insurance funds which rightfully belonged to Mr. Edwards, and they
    continued to hold them despite his repeated requests for their release,
    Shellpoint is liable for conversion.

82. As a result of their conversion, Mr. Edwards has suffered not only the
    loss of the funds but also the loss of use and the increased cost of
    construction materials and labor as well as the increased deterioration
    of his home which would have been avoided had the conversion not
    taken place.

                                        PRAYER

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment
in his favor and against Defendants as follows:



              JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                        13 OF 14
Case 25-03308 Document 1 Filed in TXSB on 04/24/25 Page 14 of 14




  (a) For an immediate turn-over of the insurance funds;
  (b) For actual damages, including economic harm and mental anguish;
  (c) For an award of attorneys’ fees, costs and expenses incurred in the
      investigation, filing and prosecution of this action;
  (d) For such other or further relief as the Court deems proper.

                               Respectfully submitted,




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            JERRY EDWARDS V. NEWREZ LLC DBA SHELLPOINT MORTGAGE SERVICING
                                      14 OF 14
